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                                                     UNITED STATES DISTRICT COURT
                                                                                      for the
                                                           EASTERN DISTRICT OF OKLAHOMA

                  UNITED STATES OF AMERICA,                                               )
                                                                                          )        Case No.: CR-23-139-JFH
                                                                    Plaintiff,            )
                                            v.                                            )               Date: 09/18/2023
                                                                                          )
                     JEFFREY SCOTT SMITH, JR.                                             )              Time: 10:14 a.m. – 10:20 a.m.
                                          Defendant.                                      )

                                                              MINUTE SHEET –ARRAIGNMENT

       Gerald L. Jackson, U.S. Magistrate Judge                            P. Bruce, Deputy Clerk                     FTR Courtroom: 4 - Room 420


Counsel for Plaintiff:                 Clay Compton, AUSA

Counsel for Defendant:                 Richard Koller, AFPD

☐ Defendant gives consent to proceed by video conference

☐ Fin. Afd / Deft orally requested counsel                                 Objections ☐yes ☐ no   ☐ Court appointed counsel
☐ Interpreter:                                                                              ; ☐ sworn

Defendant appears in person: ☒ with Counsel; ☐ Counsel waived; ☐ w/o Counsel;
☒ Defendant acknowledged receipt of Superseding Indictment and has had an opportunity to discuss it with counsel
☒ Defendant advised of constitutional rights, charges, possible penalties
☒ Defendant waived formal reading of the Superseding Indictment
☒ Defendant entered not guilty plea as to Counts 1s-3s of the Superseding Indictment

☒ Jury Trial previously set 2/5/2024 at 8:45 a.m., before District Judge John F. Heil, III
☒ Court advised Defendant motions and objections to notices are due 12/18/2023

Discovery:
☒ Court inquired of counsel as to the status of discovery production pursuant to Local Criminal Rule 16.1(A)
       requiring the Government to provide discovery to defendant contemporaneously with the arraignment.
       ☐ Government states discovery will be available via USAFX at the conclusion of the arraignment
       ☒ Government has complied                                ☐ Government has not complied
       Parties ☐ do ☐ do not foresee any problems which the Court should anticipate.
☒ Court reminds Government of their discovery obligations pursuant to the Due Process Protections Act

Detention / Bond:
☐ Defendant allowed to remain on current bond in the amount of $_________ (unsecured) and conditions of release
☐ Government filed a Motion for Detention
☐ Defendant orally requested detention hearing
☐ Detention hearing set __________________
☐ Defendant present on writ and reserves as to issue of detention at this time
☐ Defendant agreed issue of bond is moot
☒ Defendant to released on previous bond and conditions of release
☒ The sound recording for this hearing has been reviewed for completeness and correctness. The recording is a true and accurate record of these proceedings: PB
